Filed 11/29/21                                              CaseBANKRUPTCY
                                                   UNITED STATES 21-23939     COURT                                                            Doc 15
                                                    EASTERN DISTRICT OF CALIFORNIA

   In re                                                   )
   Amrit Dutt                                              )
                                                           )            Case No. 21-23939-C-7
   Anjula Dutt
                                                           )
                           Debtor(s).                      )            AMENDMENT COVER SHEET

   This form shall not be used to amend or modify plans.

   I am amending the following documents:

        G Petition                                           G                Statement of Financial Affairs
        G Creditor Matrix                                    G
                                                             ✔                Statement of Intention
        G List of 20 Largest Unsecured Creditors             G                List of Equity Security Holders
        G
        ✔ Schedules (check appropriate boxes).
          G A/B G C ✔      G D    G E/F G G G H          G I                  G J
        G Summary of Schedules of Assets and Liabilities
        ✔

   A fee of $3 is required for:

             •    An amendment that adds or deletes creditors;
             •    An amendment that changes amounts owed to a creditor; or
             •    An amendment that changes the classification of a debt.

                                             NOTICE OF AMENDMENT TO AFFECTED PARTIES

       I certify that I have notified the trustee in the case (if any) that I have filed or intend tR file the amended or supplemental
   document(s) listed above, and that I have notified all parties affected by the amendment, as required by Federal Rule of Bankruptcy
   Procedure 1009.*

   Dated: November 29, 2021               Attorney's or Pro Se Debtor’s Signature:               /s/ Mark Shmorgon
                                                                    Printed Name:                Mark Shmorgon

                                                           DECLARATION BY DEBTOR

       I(We), the undersigned debtor(s), hereby declare under penalty of perjury that the information set forth in the amendment(s)
   attached hereto, consisting of 9 pages, is true and correct.

   Dated: November 29, 2021                                                       Dated: November 29, 2021

   /s/ Amrit Dutt                                                                  /s/ Anjula Dutt
   Debtor's Signature - Amrit Dutt                                                Joint Debtor's Signature - Anjula Dutt

                                                                   INSTRUCTIONS

       Attach each amended document to this form. If there is a box on the form to indicate that the form is amended or supplemental, check the box.
   Otherwise, write the word Amended or Supplemental at the top of the form.

        If you are amending Schedules A/B, D, E/F, I, or J, you must also file an Amended Summary of Schedules of Assets and Liabilities in order
   to ensure that the totals are amended for statistical purposes. This form can be found on our website.

   •    To add creditors, write or type an A next to the creditors you are adding on any amended schedule you file. Additionally, (or, in the event
        that you are only amending the creditor matrix) attach a list of all creditors with their addresses in .txt format.
   •    To correct the names or addresses of creditors that appear on any schedule, use our Change of Address Form (EDC 2-0 ) instead of filing
        this form, any amended schedule or an amended master address list.
   •    To delete creditors, write or type a D next to the creditors you are deleting on any amended schedule you file  Do not submit a .txt file of
        creditors to be deleted. Only creditors who have not filed a proof of claim in the case will be deleted .

        *Federal Rule of Bankruptcy Procedure 1009 requires the debtor to give notice of an amendment. Notice of the amendment will not be
   given by the Clerk’s Office. To comply with this requirement, the debtor's attorney or Pro Se debtor must give notice to the trustee and any party
   affected by the amendment by serving the amendment and all previous court notices including, but not limited to, the notice of meeting of creditors,
   discharge of debtor, etc. A proof of service, indicating that service has been made, must be filed with the court.

        Checks and money orders should be payable to Clerk, U.S. Bankruptcy Court. (NOTE: No personal checks will be accepted.)
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    2IILFLDO)RUP'                        $GGLWLRQDO3DJHRI6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                       SDJHRI
    6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                     %HVW&DVH%DQNUXSWF\
Filed 11/29/21                                                                      AMENDED
                                                                                    Case 21-23939                                                                          Doc 15
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        'HEWRU $PULW'XWW                                                                                       &DVHQXPEHU   LINQRZQ   
                     )LUVW1DPH                  0LGGOH1DPH                     /DVW1DPH
        'HEWRU $QMXOD'XWW
                     )LUVW1DPH                  0LGGOH1DPH                     /DVW1DPH


            &DYDOU\639,//&                         'HVFULEHWKHSURSHUW\WKDWVHFXUHVWKHFODLP                                         
               &UHGLWRU V1DPH
                                                          :DWVHND:D\6DFUDPHQWR&$
                                                          
               6XPPLW/DNH'ULYH
                                                          $VRIWKHGDWH\RXILOHWKHFODLPLV&KHFNDOOWKDW
               6XLWH                                 DSSO\
               9DOKDOOD1<                         &RQWLQJHQW
               1XPEHU6WUHHW&LW\6WDWH =LS&RGH     8QOLTXLGDWHG
                                                          'LVSXWHG
        :KRRZHVWKHGHEW"&KHFNRQH                     1DWXUHRIOLHQ&KHFNDOOWKDWDSSO\
        'HEWRURQO\                                   $QDJUHHPHQW\RXPDGH VXFKDVPRUWJDJHRUVHFXUHG
        'HEWRURQO\                                        FDUORDQ
        'HEWRUDQG'HEWRURQO\                      6WDWXWRU\OLHQ VXFKDVWD[OLHQPHFKDQLF VOLHQ
        $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU         -XGJPHQWOLHQIURPDODZVXLW
        &KHFNLIWKLVFODLPUHODWHVWRD                2WKHU LQFOXGLQJDULJKWWRRIIVHW
              FRPPXQLW\GHEW

        'DWHGHEWZDVLQFXUUHG                           /DVWGLJLWVRIDFFRXQWQXPEHU        


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               &LWL%DQN 6RXWK'DNRWD 
               1$                                       'HVFULEHWKHSURSHUW\WKDWVHFXUHVWKHFODLP                                          
               &UHGLWRU V1DPH
                                                          :DWVHND:D\6DFUDPHQWR&$
               &LWLEDQN1DWLRQDO                         
               $VVRFLDWLRQ
               6RXWK&RUSRUDWH                       $VRIWKHGDWH\RXILOHWKHFODLPLV&KHFNDOOWKDW
                                                          DSSO\
               3ODFH                                      &RQWLQJHQW
               6LRX[)DOOV6'
               1XPEHU6WUHHW&LW\6WDWH =LS&RGH     8QOLTXLGDWHG
                                                          'LVSXWHG
        :KRRZHVWKHGHEW"&KHFNRQH                     1DWXUHRIOLHQ&KHFNDOOWKDWDSSO\
        'HEWRURQO\                                   $QDJUHHPHQW\RXPDGH VXFKDVPRUWJDJHRUVHFXUHG
        'HEWRURQO\                                        FDUORDQ
        'HEWRUDQG'HEWRURQO\                      6WDWXWRU\OLHQ VXFKDVWD[OLHQPHFKDQLF VOLHQ
        $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU         -XGJPHQWOLHQIURPDODZVXLW
        &KHFNLIWKLVFODLPUHODWHVWRD                2WKHU LQFOXGLQJDULJKWWRRIIVHW
              FRPPXQLW\GHEW

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    6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                     %HVW&DVH%DQNUXSWF\
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        'HEWRU $PULW'XWW                                                                                        &DVHQXPEHU     LINQRZQ      
                      )LUVW1DPH                  0LGGOH1DPH                     /DVW1DPH
        'HEWRU $QMXOD'XWW
                      )LUVW1DPH                  0LGGOH1DPH                     /DVW1DPH


                &LWL%DQN 6RXWK'DNRWD 
                                                                                                                                                             
                1$                                       'HVFULEHWKHSURSHUW\WKDWVHFXUHVWKHFODLP
                &UHGLWRU V1DPH
                                                           :DWVHND:D\6DFUDPHQWR&$
                &LWLEDQN1DWLRQDO                         
                $VVRFLDWLRQ
                6RXWK&RUSRUDWH                       $VRIWKHGDWH\RXILOHWKHFODLPLV&KHFNDOOWKDW
                                                           DSSO\
                3ODFH                                      &RQWLQJHQW
                6LRX[)DOOV6'
                1XPEHU6WUHHW&LW\6WDWH =LS&RGH     8QOLTXLGDWHG
                                                           'LVSXWHG
        :KRRZHVWKHGHEW"&KHFNRQH                      1DWXUHRIOLHQ&KHFNDOOWKDWDSSO\
        'HEWRURQO\                                    $QDJUHHPHQW\RXPDGH VXFKDVPRUWJDJHRUVHFXUHG
        'HEWRURQO\                                         FDUORDQ
        'HEWRUDQG'HEWRURQO\                       6WDWXWRU\OLHQ VXFKDVWD[OLHQPHFKDQLF VOLHQ
        $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU          -XGJPHQWOLHQIURPDODZVXLW
        &KHFNLIWKLVFODLPUHODWHVWRD                 2WKHU LQFOXGLQJDULJKWWRRIIVHW
               FRPPXQLW\GHEW

        'DWHGHEWZDVLQFXUUHG                            /DVWGLJLWVRIDFFRXQWQXPEHU        


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                6SHFLDOL]HG/RDQ
                6HUYLFLQJ//&                             'HVFULEHWKHSURSHUW\WKDWVHFXUHVWKHFODLP                                                      
                &UHGLWRU V1DPH
                                                           :DWVHND:D\6DFUDPHQWR&$
                                                           
                /XFHQW%OYG
                                                           $VRIWKHGDWH\RXILOHWKHFODLPLV&KHFNDOOWKDW
                +LJKODQGV5DQFK&2                        DSSO\
                                                      &RQWLQJHQW
                1XPEHU6WUHHW&LW\6WDWH =LS&RGH     8QOLTXLGDWHG
                                                           'LVSXWHG
        :KRRZHVWKHGHEW"&KHFNRQH                      1DWXUHRIOLHQ&KHFNDOOWKDWDSSO\
        'HEWRURQO\                                    $QDJUHHPHQW\RXPDGH VXFKDVPRUWJDJHRUVHFXUHG
        'HEWRURQO\                                         FDUORDQ
        'HEWRUDQG'HEWRURQO\                       6WDWXWRU\OLHQ VXFKDVWD[OLHQPHFKDQLF VOLHQ
        $WOHDVWRQHRIWKHGHEWRUVDQGDQRWKHU          -XGJPHQWOLHQIURPDODZVXLW
        &KHFNLIWKLVFODLPUHODWHVWRD                 2WKHU LQFOXGLQJDULJKWWRRIIVHW
               FRPPXQLW\GHEW

        'DWHGHEWZDVLQFXUUHG                            /DVWGLJLWVRIDFFRXQWQXPEHU        


          $GGWKHGROODUYDOXHRI\RXUHQWULHVLQ&ROXPQ$RQWKLVSDJH:ULWHWKDWQXPEHUKHUH                                   
          ,IWKLVLVWKHODVWSDJHRI\RXUIRUPDGGWKHGROODUYDOXHWRWDOVIURPDOOSDJHV
          :ULWHWKDWQXPEHUKHUH                                                                                                  

        3DUW     /LVW2WKHUVWR%H1RWLILHGIRUD'HEW7KDW<RX$OUHDG\/LVWHG
        8VHWKLVSDJHRQO\LI\RXKDYHRWKHUVWREHQRWLILHGDERXW\RXUEDQNUXSWF\IRUDGHEWWKDW\RXDOUHDG\OLVWHGLQ3DUW)RUH[DPSOHLIDFROOHFWLRQDJHQF\LV
        WU\LQJWRFROOHFWIURP\RXIRUDGHEW\RXRZHWRVRPHRQHHOVHOLVWWKHFUHGLWRULQ3DUWDQGWKHQOLVWWKHFROOHFWLRQDJHQF\KHUH6LPLODUO\LI\RXKDYHPRUH
        WKDQRQHFUHGLWRUIRUDQ\RIWKHGHEWVWKDW\RXOLVWHGLQ3DUWOLVWWKHDGGLWLRQDOFUHGLWRUVKHUH,I\RXGRQRWKDYHDGGLWLRQDOSHUVRQVWREHQRWLILHGIRUDQ\
        GHEWVLQ3DUWGRQRWILOORXWRUVXEPLWWKLVSDJH

        >@
                  1DPH1XPEHU6WUHHW&LW\6WDWH =LS&RGH                                              2QZKLFKOLQHLQ3DUWGLG\RXHQWHUWKHFUHGLWRU"
                  &LWLEDQN1DWLRQDO$VVRFLDWLRQ
                  +XQW +HQULTXHV                                                                          /DVWGLJLWVRIDFFRXQWQXPEHU
                  5HDOP'ULYH
                  6DQ-RVH&$




    2IILFLDO)RUP'                         $GGLWLRQDO3DJHRI6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                                     SDJHRI
    6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                                                    %HVW&DVH%DQNUXSWF\
Filed 11/29/21                                                             AMENDED
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        'HEWRU $PULW'XWW                                                                  &DVHQXPEHU      LINQRZQ      
                  )LUVW1DPH                0LGGOH1DPH                  /DVW1DPH
        'HEWRU $QMXOD'XWW
                  )LUVW1DPH                0LGGOH1DPH                  /DVW1DPH


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               1DPH1XPEHU6WUHHW&LW\6WDWH =LS&RGH                            2QZKLFKOLQHLQ3DUWGLG\RXHQWHUWKHFUHGLWRU"
               &LWL%DQN1DWLRQDO$VVRFLDWLRQ
               +XQW +HQULTXHV                                                        /DVWGLJLWVRIDFFRXQWQXPEHU
               5HDOP'ULYH
               6DQ-RVH&$

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               1DPH1XPEHU6WUHHW&LW\6WDWH =LS&RGH                            2QZKLFKOLQHLQ3DUWGLG\RXHQWHUWKHFUHGLWRU"
               :LQQ/DZ*URXS$3&
               &DYDOU\3RUWIROLR6HUYLFHV//&                                         /DVWGLJLWVRIDFFRXQWQXPEHU
               (DVW:LOVKLUH$YH6XLWH
               )XOOHUWRQ&$




    2IILFLDO)RUP'                   $GGLWLRQDO3DJHRI6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\                                      SDJHRI
    6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                               %HVW&DVH%DQNUXSWF\
Filed 11/29/21                                                                AMENDED
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     )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\\RXUFDVH

     'HEWRU                 $PULW'XWW
                              )LUVW1DPH                        0LGGOH1DPH               /DVW1DPH

     'HEWRU                 $QMXOD'XWW
     6SRXVHLIILOLQJ        )LUVW1DPH                        0LGGOH1DPH               /DVW1DPH


     8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH              ($67(51',675,&72)&$/,)251,$

     &DVHQXPEHU          
     LINQRZQ
                                                                                                                               &KHFNLIWKLVLVDQ
                                                                                                                                DPHQGHGILOLQJ



    2IILFLDO)RUP
    6WDWHPHQWRI,QWHQWLRQIRU,QGLYLGXDOV)LOLQJ8QGHU&KDSWHU                                                                              


    ,I\RXDUHDQLQGLYLGXDOILOLQJXQGHUFKDSWHU\RXPXVWILOORXWWKLVIRUPLI
    FUHGLWRUVKDYHFODLPVVHFXUHGE\\RXUSURSHUW\RU
    \RXKDYHOHDVHGSHUVRQDOSURSHUW\DQGWKHOHDVHKDVQRWH[SLUHG
    <RXPXVWILOHWKLVIRUPZLWKWKHFRXUWZLWKLQGD\VDIWHU\RXILOH\RXUEDQNUXSWF\SHWLWLRQRUE\WKHGDWHVHWIRUWKHPHHWLQJRIFUHGLWRUV
            ZKLFKHYHULVHDUOLHUXQOHVVWKHFRXUWH[WHQGVWKHWLPHIRUFDXVH<RXPXVWDOVRVHQGFRSLHVWRWKHFUHGLWRUVDQGOHVVRUV\RXOLVW
            RQWKHIRUP

    ,IWZRPDUULHGSHRSOHDUHILOLQJWRJHWKHULQDMRLQWFDVHERWKDUHHTXDOO\UHVSRQVLEOHIRUVXSSO\LQJFRUUHFWLQIRUPDWLRQ%RWKGHEWRUVPXVW
             VLJQDQGGDWHWKHIRUP

    %HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHV
            ZULWH\RXUQDPHDQGFDVHQXPEHU LINQRZQ 

     3DUW       /LVW<RXU&UHGLWRUV:KR+DYH6HFXUHG&ODLPV

    )RUDQ\FUHGLWRUVWKDW\RXOLVWHGLQ3DUWRI6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\ 2IILFLDO)RUP' ILOOLQWKH
       LQIRUPDWLRQEHORZ
        ,GHQWLI\WKHFUHGLWRUDQGWKHSURSHUW\WKDWLVFROODWHUDO  :KDWGR\RXLQWHQGWRGRZLWKWKHSURSHUW\WKDW    'LG\RXFODLPWKHSURSHUW\
                                                                   VHFXUHVDGHEW"                                    DVH[HPSWRQ6FKHGXOH&"


        &UHGLWRU V       %DQNRI$PHULFD1$                                6XUUHQGHUWKHSURSHUW\                     1R
        QDPH                                                                 5HWDLQWKHSURSHUW\DQGUHGHHPLW
                                                                              5HWDLQWKHSURSHUW\DQGHQWHULQWRD        <HV
        'HVFULSWLRQRI      :DWVHND:D\6DFUDPHQWR                        5HDIILUPDWLRQ$JUHHPHQW
        SURSHUW\            &$                                          5HWDLQWKHSURSHUW\DQG>H[SODLQ@
        VHFXULQJGHEW



        &UHGLWRU V       &DYDOU\3RUWIROLR6HUYLFHV//&DV                  6XUUHQGHUWKHSURSHUW\                     1R
        QDPH                                                                 5HWDLQWKHSURSHUW\DQGUHGHHPLW
                                                                              5HWDLQWKHSURSHUW\DQGHQWHULQWRD        <HV
        'HVFULSWLRQRI      :DWVHND:D\6DFUDPHQWR                         5HDIILUPDWLRQ$JUHHPHQW
        SURSHUW\            &$                                          5HWDLQWKHSURSHUW\DQG>H[SODLQ@
        VHFXULQJGHEW                                                        DYRLGOLHQXVLQJ86& I


        &UHGLWRU V       &DYDOU\639,//&                                   6XUUHQGHUWKHSURSHUW\                     1R
        QDPH                                                                 5HWDLQWKHSURSHUW\DQGUHGHHPLW
                                                                              5HWDLQWKHSURSHUW\DQGHQWHULQWRD        <HV
        'HVFULSWLRQRI      :DWVHND:D\6DFUDPHQWR                         5HDIILUPDWLRQ$JUHHPHQW
        SURSHUW\            &$                                          5HWDLQWKHSURSHUW\DQG>H[SODLQ@

    2IILFLDO)RUP                                       6WDWHPHQWRI,QWHQWLRQIRU,QGLYLGXDOV)LOLQJ8QGHU&KDSWHU                             SDJH

    6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                   %HVW&DVH%DQNUXSWF\
Filed 11/29/21                                                              AMENDED
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     'HEWRU      $PULW'XWW
     'HEWRU      $QMXOD'XWW                                                                           &DVHQXPEHU LINQRZQ    

         VHFXULQJGHEW                                                      DYRLGOLHQXVLQJ86& I


         &UHGLWRU V    &DYDOU\639,//&                                    6XUUHQGHUWKHSURSHUW\                               1R
         QDPH                                                               5HWDLQWKHSURSHUW\DQGUHGHHPLW
                                                                             5HWDLQWKHSURSHUW\DQGHQWHULQWRD                  <HV
         'HVFULSWLRQRI     :DWVHND:D\6DFUDPHQWR                         5HDIILUPDWLRQ$JUHHPHQW
         SURSHUW\           &$                                         5HWDLQWKHSURSHUW\DQG>H[SODLQ@
         VHFXULQJGHEW                                                      DYRLGOLHQXVLQJ86& I


         &UHGLWRU V    &LWL%DQN 6RXWK'DNRWD 1$                         6XUUHQGHUWKHSURSHUW\                               1R
         QDPH                                                               5HWDLQWKHSURSHUW\DQGUHGHHPLW
                                                                             5HWDLQWKHSURSHUW\DQGHQWHULQWRD                  <HV
         'HVFULSWLRQRI     :DWVHND:D\6DFUDPHQWR                         5HDIILUPDWLRQ$JUHHPHQW
         SURSHUW\           &$                                         5HWDLQWKHSURSHUW\DQG>H[SODLQ@
         VHFXULQJGHEW                                                      DYRLGOLHQXVLQJ86& I


         &UHGLWRU V    &LWL%DQN 6RXWK'DNRWD 1$                         6XUUHQGHUWKHSURSHUW\                               1R
         QDPH                                                               5HWDLQWKHSURSHUW\DQGUHGHHPLW
                                                                             5HWDLQWKHSURSHUW\DQGHQWHULQWRD                  <HV
         'HVFULSWLRQRI     :DWVHND:D\6DFUDPHQWR                       5HDIILUPDWLRQ$JUHHPHQW
         SURSHUW\           &$                                         5HWDLQWKHSURSHUW\DQG>H[SODLQ@
         VHFXULQJGHEW



         &UHGLWRU V    6SHFLDOL]HG/RDQ6HUYLFLQJ//&                       6XUUHQGHUWKHSURSHUW\                               1R
         QDPH                                                               5HWDLQWKHSURSHUW\DQGUHGHHPLW
                                                                             5HWDLQWKHSURSHUW\DQGHQWHULQWRD                  <HV
         'HVFULSWLRQRI     :DWVHND:D\6DFUDPHQWR                       5HDIILUPDWLRQ$JUHHPHQW
         SURSHUW\           &$                                         5HWDLQWKHSURSHUW\DQG>H[SODLQ@
         VHFXULQJGHEW

     3DUW   /LVW<RXU8QH[SLUHG3HUVRQDO3URSHUW\/HDVHV
    )RUDQ\XQH[SLUHGSHUVRQDOSURSHUW\OHDVHWKDW\RXOLVWHGLQ6FKHGXOH*([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV 2IILFLDO)RUP* ILOO
    LQWKHLQIRUPDWLRQEHORZ'RQRWOLVWUHDOHVWDWHOHDVHV8QH[SLUHGOHDVHVDUHOHDVHVWKDWDUHVWLOOLQHIIHFWWKHOHDVHSHULRGKDVQRW\HWHQGHG
    <RXPD\DVVXPHDQXQH[SLUHGSHUVRQDOSURSHUW\OHDVHLIWKHWUXVWHHGRHVQRWDVVXPHLW86& S  

     'HVFULEH\RXUXQH[SLUHGSHUVRQDOSURSHUW\OHDVHV                                                                            :LOOWKHOHDVHEHDVVXPHG"

     /HVVRU VQDPH               )RUG0RWRU&UHGLW&RPSDQ\//&                                                                 1R

                                                                                                                                 <HV
     'HVFULSWLRQRIOHDVHG        0RQWK$XWR/HDVH
     3URSHUW\                    )RUG(GJH6(6SRUW8WLOLW\'


     3DUW     6LJQ%HORZ

    8QGHUSHQDOW\RISHUMXU\,GHFODUHWKDW,KDYHLQGLFDWHGP\LQWHQWLRQDERXWDQ\SURSHUW\RIP\HVWDWHWKDWVHFXUHVDGHEWDQGDQ\SHUVRQDO
    SURSHUW\WKDWLVVXEMHFWWRDQXQH[SLUHGOHDVH

     ;     V$PULW'XWW                                                               ; V$QMXOD'XWW

    2IILFLDO)RUP                                       6WDWHPHQWRI,QWHQWLRQIRU,QGLYLGXDOV)LOLQJ8QGHU&KDSWHU                                    SDJH

    6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                            %HVW&DVH%DQNUXSWF\
